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    Fill in this information to identify your case:

    United States Bankruptcy Court for the:

                    District of                                                                          2023 FEB 21 AM 10: 35
     Case number (If known):                                           Chapter you are filing under:
                                                                       g Chapter 7                                                     eck if this is an
                                                                       U Chapter 11
                                                                                                                                           ed filing

      2311663
                                                                       U Chapter 12
                                                                       • Chapter 13                                 Ji.:Pf I '7.




Voluntary Petition for Individuals Filing for Bankruptcy                                                                                             12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may We a bankruptcy case together—calibu,
Joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,''
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor / and
                        h&NAffibn Mom In Writ FfMA. otte of the soouses must report Information as Debtor I and the other as Debtor 2. The
same person must oe Oebtor i in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


 Part 1:     Identify Yourself

                                      About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
 1. Your full name
                                      Georgette
     Write the name that Is on your   First name                                                       First name
     government-issued picture
     identification (for example,     Elizabeth
     your driver's license or         Middle name                                                      Middle name
     passport).                       Correa
                                      Last name                                                        Last name
     Bring your picture
     identification to your meeting
     with the trustee.                Suffix (Sr., Jr., II, III)                                       Suffix (Sr., Jr., II, III)


 2. All other names you               Georgette
    have used in the last 8           First name                                                       First name
    years                             Elizabeth
                                      Middle name                                                      Middle name
     Include your married or
     maiden names and any
                                      Gerfea—
                                      Last name
                                                          STARkg                                       Last name
     assumed, trade names and
     doing business as names.
                                      First name                                                       First name
     Do NOT list the name of any
     separate legal entity such as
                                      Middle name                                                      Middle name
     a corporation, partnership, or
     LLC that is not filing this
     petition.                        Last name                                                        Last name
                                      Starks
                                      Business name (if applicable)                                    Business name (if applicable)


                                      Business name (if applicable)                                    Business name (if applicable)




 3. Only the last 4 digits of
                                      )00(     — XX —              3       0     3      4              x;o( - xx —
    your Social Security
    number or federal                 OR                                                               OR
    Individual Taxpayer
    Identification number             9 xx - xx -                                                      9 xx - xx
    (ITV

Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                 page 1
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Debtor 1    Georgette Elizabeth Correa                                                            Case number (if know)
             Fast Name   Nada NAM              Last Nan.,
                                                                                             3 ,3 - ^



                                    About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


 4. Your Employer
    Identification Number           46                  b_g_T411                                         EIN
    (EIN), if any.

                                                   ttpCie                                                EIN


 5. Where you live                                                                                       If Debtor 2 lives at a different address:


                                    1404 Vinings Parkway SE
                                    Number   Street                                                      Number           Street




                                    Smyrna                               GA       30080
                                    City                                 State    ZIP Code               City                                 State     ZIP Code
                                    Cobb
                                    County                                                               County

                                    If your mailing address is different from the one                    If Debtor 2's mailing address is different from
                                    above, fill it in here. Note that the court will send                yours, fill it in here. Note that the court will send
                                    any notices to you at this mailing address.                          any notices to this mailing address.



                                    Number          Street                                               Number           Street


                                    P.O. Box                                                             P.O. Box


                                    City                                 State    ZIP Code               City                                 State     ZIP Code



 6. Why you are choosing            Check one:                                                           Check one:
    this district to file for
    bankruptcy                      RI Over the last 180 days before filing this petition,               0 Over the last 180 days before filing this petition,
                                       I have lived in this district longer than in any                    I have lived in this district longer than in any
                                       other district,                                                     other district.

                                    U I have another reason. Explain.                                    El I have another reason. Explain.
                                      (See 28 U.S.C. § 1408.)                                               (See 28 U.S.C. § 1408.)




 N3ficial Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                        page 2
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Debtor 1    Georoette
            Fimt Nam.
                        Elizabeth Correa                                                Case number Of known)
                      Middla Nam.        Last Nama




MI         Tell the Court About Your Bankruptcy Case


7.   The chapter of the        Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you       for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                     0 Chapter 7

                               LI Chapter 11
                               U Chapter 12

                               U Chanter 13

a. How you will pay the fee    U I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                 local court for more details about how you may pay. Typically, if you are paying the fee
                                 yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                  submitting your payment on your behalf, your attorney may pay with a credit card or check
                                  with a pre-printed address.

                               1:3 I need to pay the fee in installments. If you choose this option, sign and attach the
                                   Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                               0 I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                 By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                 less than 150% of the official poverty line that applies to your family size and you are unable to
                                 pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                 Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9. Have you filed for          El No
   bankruptcy within the
   last 8 years?               0 Yes.    District                              When                        Case number
                                                                                       MM! DD / YYYY
                                         District                              When                        Case number
                                                                                       MM! DD / YYYY
                                         District                              When                        Case number
                                                                                       MM! DD / YYYY



10.Are any bankruptcy          0 No
   cases pending or being
   filed by a spouse who is    LI Yes.   Debtor                                                           Relationship to you
   not filing this case with             District                              When                        Case number, if known
   you, or by a business                                                               MM/DD / YYYY
   partner, or by an
   affiliate?
                                         Debtor                                                           Relationship to you
                                         District                              When                        Case number. if known
                                                                                       MM / DD / YYYY



11. Bo you rent your           Li No. Go to line 12.
    residence?                 0 Yes. Has your landlord obtained an eviction judgment against you?
                                         al' No. Go to line 12.
                                         LI   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                              part of this bankruptcy petition.




 Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 3
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    .;ebtor        '.3eorgette Elizabeth Correa                                                          Case number (if known)
                      Name          Middle Name            Last Name




=               Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor                     0 No. Go to Part 4.
    of any full- or part-time
    business?                                     U Yes. Name and location of business
        A sole proprietorship is a
        ousiness you operate as an
        individual, and is not a                          Name of business, if any
        separate legal entity such as
        a corporation, partnership, or
        LLC,                                              Number       Street
        If you have more than one
        sole proprietorship, use a
        separate sheet and attach it
        to this petition.
                                                            abi                                                   State           ZIP Code


                                                          Check the appropriate box to describe your business:
                                                          U Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                          U Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          U Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          U Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          U None of the above


13. Are you filing under                          If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                             choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and                          are a small business debtor or you are choosing to proceed under Subchapter V. you must attach your
    are you a small business                      most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
                                                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §                       0 No. I am not filing under Chapter 11.
    1182(1)?                                         No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
        For a definition of small                        the Bankruptcy Code.
        business debtor, see
        11 U.S.C. § 101(51D).                     U Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                         Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                                  U Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                         Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




     -Ifficial Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                 page 4
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Z5ebtor 1     Georgette Elizabeth Correa                                                       Case number (if known)
              First Nama    Middla Nama           LM Noma




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               la No
     property that poses or is
     alleged to pose a threat             LI Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or ao you own any
     property that needs
                                                   If immediate attention is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                   Where is the property?
                                                                            Number        Street




                                                                            City                                        State   ZIP Code




 Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                           papez.̀,
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Labrer 1     Georaette Elizabeth Correa                                                                 Case number (if known)
             =irst Name     Middle Name             Last Name




Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                          About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
   you have received a
   briefing about credit                  You must check one:                                                  You must check one:
   counseling.
                                          Et I received a briefing from an approved credit                     0   I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                       counseling agency within the 180 days before I
   The law requires that you                  filed this bankruptcy petition, and I received a                     filed this bankruptcy petition, and I received a
   receive a briefing about credit            certificate of completion.                                           certificate of completion.
   counseling before you file for
                                              Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
   bankruptcy. You must
                                              plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you              Ul I received a briefing from an approved credit                     D I received a briefing from an approved credit
   cannot do so, you are not                  counseling agency within the 180 days before I                       counseling agency within the 180 days before I
   eligible to file.                          filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                           certificate of completion.
   If you file anyway, the court                                                                                   Within 14 days after you file this bankruptcy petition,
                                              Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you                                                                                      you MUST file a copy of the certificate and payment
                                              you MUST file a copy of the certificate and payment
   will lose whatever filing fee
                                              plan, if any.                                                        plan, if any.
   you paid, and your creditors
   can begin collection activities        0   I certify that I asked for credit counseling                     Li I certify that I asked for credit counseling
   again.                                     services from an approved agency, but was                            services from an approved agency, but was
                                              unable to obtain those services during the 7                         unable to obtain those services during the 7
                                              days after I made my request, and exigent                            days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                  of the requirement.
                                              To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                              required you to file this case.                                      required you to file this case.
                                              Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                        You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                              may be dismissed.                                                    may be dismissed.
                                              Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                              days.                                                                days.

                                          D I am not required to receive a briefing about                      0   I am not required to receive a briefing about
                                              credit counseling because of:                                        credit counseling because of:

                                              Li Incapacity.    I have a mental illness or a mental                 D Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me                                          deficiency that makes me
                                                                incapable of realizing or making                                  incapable of realizing or making
                                                                rational decisions about finances.                                rational decisions about finances.
                                              0 Disability.     My physical disability causes me                    0   Disability.   My physical disability causes me
                                                                to be unable to participate in a                                      to be unable to participate in a
                                                                briefing in person, by phone, or                                      briefing in person, by phone, or
                                                                through the intemet, even after I                                     through the intemet, even after I
                                                                reasonably tried to do so.                                            reasonably tried to do so.
                                              0 Active duty.    I am currently on active military                   0   Active duty. I am currently on active military
                                                                duty in a military combat zone.                                      duty in a military combat zone.
                                              If you believe you are not required to receive a                      If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                     briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.                motion for waiver of credit counseling with the court.




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                    ette ttizaoeth Correa                                                                Case number ofknow
                        11AirldIR Nees_              Last Name




          Answer These Questions for Reporting Purposes

                                          16a.Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. & 101(8)
18. What kind of debts do                      as "incurred by an individual primarily for a personal, family, or household purpose."
   you have?
                                               El No. Go to line 16b.
                                               la Yes. Go to line 17.
                                          16b.Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                               money for a business or investment or through the operation of the business or investment.
                                               0 No. Go to line 16c.
                                               LI Yes, Go to line 17.
                                          16c.State the type of debts you owe that are not consumer debts or business debts.



17. Are you Mina under
    Chapter 7?                            0 No. I am not filing under Chapter 7. Go to line 18.

   Do you estimate that after             fa Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
   any exempt property is                          administrative expenses are paid that funds will be available to distribute to unsecured creditors?
   excluded and                                         No
   administrative expenses
   are paid that funds will be                     U Yes
   available for distribution
   to unsecured creditors?

18.How many creditors do                  0 1-49                                     0   1,000-5,000                          CI 25,001-50,000
   you estimate that you                  CI 50-99                                   0   5,001-10,000                         CI 50,001-100,000
   owe?                                   U 100-199                                      10.001-25,000                        0 More than 100,000
                                          CI 200-999
19.How much do you                        0 $0-$50,000                                   $1,000,001-$10 million               Ol $500,000,00141 billion
   estimate your assets to                0 $50,0014100,000                          0 $10,000,001450 million                    $1,000,000,001-$10 billion
   be worth?                              Li $100,001-$500,000                       Li $50,000,001-$100 million              Li $10,000,000,001-$50 billion
                                          U $500,00141 million                       0 $100,000,0014500 million               0 More than $50 billion
20.How much do you                           $0-$50,000                              Li $1,000,001-$10 million                0 $500,000,00141 billion
   estimate your liabilities              CI $50,0014100,000                         Ei $10,000,001450 million                Li $1,000,000,001-$10 billion
   to be?                                 Li $100,001-$500,000                       0 550,000,0014100 million                   $10,000,000,001-$50 billion
                                          Li $500,001-$1 million                     Li $100,000,001-$500 million             El More than $50 billion

EISM      Sign Below

                                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                   correct.
                                          If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible. under Chapter 7, 11.12. or 13
                                          of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                          under Chapter 7.
                                          If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                          this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                          I rawest relief in accordance with the chapter of title 11. United States Code. specified in this petition.
                                          I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                          with a bank ptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                          i8U.S.C.% 152, 1341                3571.



                                             Signature                    1                                     Signature of Debtor 2

                                             Executed on 0 )-:"..             AvA,9                             Executed on
                                                                 rvim I   DD /YYYY                                            MM   DD   /YYYY


 Offidal Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
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 gtor      ,Jeorgefte Elizabeth Correa                                                              Case number (if known)
               k!nrne.   MirWI" Kiruna             I AO Marna.




                                         I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are
                                         to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                       available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                         the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
if you are not represented               knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                             Date
                                            Signature of Attorney for Debtor                                                 MM      /      DD / YYYY




                                            vrintret. name




                                                                                                             wart-            • ;-...ocia




                                            uornact pnone                                                   Email -aggress




                                            bar nuftver




  -nciai Form 101                                 Voluntary Petition for individuals Filina for Bankruptcy                                          bane 8
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Debtor 'I    Georgette Elizabeth Correa                                                    Case number Of known)
             9nit Name   Middle Name-           last Name




For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy witnout an                   should understand that many people find it extremely difficult to represent
attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
IT you are representeci by
an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                        dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                        hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                        firm if your case is selected for audit. If that happens, you could lose your right to file another
                                        case, or you may lose protections, including the benefit of the automatic stay.
                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                        also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                        be familiar with any state exemption laws that apply.

                                        Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                        consequences?
                                        •    No
                                        •    Yes

                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                        UlNo
                                        • Yes
                                        Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                        Id No
                                        U Yes. Name of Person
                                                Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).


                                        By sianina here. I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am aware that tiling a bankruptcy case without an
                                        attor y may cause me t        my rights or property it I do not properly handle the case.




                                            ignature of debt
                                                                     Ace"(                          Signature of Debtor 2

                                                        a —                                         Liate
                                                        MM/DD /                                                     MM! DD /YYYY
                                        Contact phone                                               Contact phone

                                        Cell phone                                                  C 'i ohone

                                        Email aggress       I -e0(   r .e t                            afraciness



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   Fill in this information to identify your case:


   Debtor 1          Georgette Elizabeth Correa
                        First Name               Middle Name                        Lest Name

   Debtor 2
   (Spouse, if filing) Firal Name                Middle Name                        Last Name

   United States Bankruptcy Court for the:                     District of

   Case number
    (If known)                                                                                                                          U   Check if this is an
                                                                                                                                            amended filing




  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/22

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        U Married
        el Not married
   2. During the last 3 years, have you lived anywhere other than where you live now?

       er No
       U     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                               Dates Debtor I         Debtor 2:                                    Dates Debtor 2
                                                                         lived there                                                         lived there

                                                                                                U Same as Debtor 1                          U   Same as Debtor 1

                                                                         From                                                                   From
                 Number              Street                                                        Number Street
                                                                         To                                                                     To



                 City                         State ZIP Code                                       City              State ZIP Code

                                                                                                U Same as Debtor 1                          U   Same as Debtor 1

                                                                             From                                                               From
                 Number              Street                                                        Number Street
                                                                         To                                                                     To



                 City                         State ZIP Code                                       City              State   ZIP Code

   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       U No
       Li Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 I=              Explain the Sources of Your Income

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Debtor 1     Georgette Elizabeth Correa                                                                Case number (it-k...)
              First Name    Middle Name           Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     Ig No
     O Yes. Fill in the details.

                                                        Debtor 1                                                 Debtor 2

                                                        Sources of income               Gross income             Sources of income         Gross income
                                                        Check all that apply.           (before deductions and   Check all that apply.     (before deductions and
                                                                                        exclusions)                                        exclusions)

           From January 1 of current year until          D Wages, commissions,                                   0   Wages, commissions,
                                                              bonuses, tips             $                            bonuses, tips         $
           the date you filed for bankruptcy:
                                                         O Operating a business                                  O Operating a business


           For last calendar year:                       O Wages, commissions,                                   O Wages, commissions,
                                                           bonuses, tips                                           bonuses, tips
           (January 1 to December 31,                    O Operating a business                                  O Operating a business
                                          YYYY



           For the calendar year before that:            0    Wages, commissions,                                O Wages, commissions,
                                                              bonuses, tips                                        bonuses, tips
           (January 1 to December 31                     D Operating a business                                  O Operating a business
                                          YYYY




 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     g No
     O Yes. Fill in the details.
                                                        Debtor 1                                                  Debtor 2

                                                        Sources of income               Gross income from         Sources of income        Gross income from
                                                        Describe below.                 each source               Describe below.          each source
                                                                                        (before deductions and                             (before deductions and
                                                                                        exclusions)                                        exclusions)



           From January 1 of current year until
           the date you filed for bankruptcy:




           For last calendar year:                                                  $                                                      $
           (January 1 to December 31,            )                                  $                                                      $
                                          YYYY
                                                                                    $                                                      $



           For the calendar year before that:                                       $                                                      $
           (January 1 to December 31             )                                  $                                                      $
                                          YYYY
                                                                                    $                                                      $




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Debtor 1      Georgette Elizabeth Correa                                                            Case number (ifknown)
               First Name         Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     D No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

               0 No. Go to line 7.
               LI Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

     Ei    Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               0 No. Go to line 7.
               El Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                       creditor. Do not include payments for domestic support obligations, such as child support and
                       alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                         Dates of     Total amount paid        Amount you still owe    Was this payment for...
                                                                         payment

                      Wells Fargo Auto                                  11/22/2023    $          1,866.00     $             7,836.99      Mortgage
                      Creditor's Name
                                                                                                                                          Car
                      3351 Riverwood Pkwy SE                            12/23/2023
                      Number      Street                                                                                               0 Credit card
                      Atlanta, GA 30339                                 11/29/2023                                                     0 Loan repayment
                                                                                                                                       0 Suppliers or vendors
                      City                      State       ZIP Code                                                                   0 Other


                      Creditor's Name
                                                                                                                                       0 Mortgage
                                                                                                                                       0 Car
                      Number     Street                                                                                                0 Credit card
                                                                                                                                       0 Loan repayment
                                                                                                                                       0 Suppliers or vendors
                      City                      State       ZIP Code
                                                                                                                                       0 Other



                      Creditor's Name
                                                                                                                                       0 Mortgage
                                                                                                                                       0 Car
                      Number     Street                                                                                                0 Credit card
                                                                                                                                       0 Loan repayment
                                                                                                                                       0 Suppliers or vendors
                      City                      State       ZIP Cade
                                                                                                                                       El Other



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Debtor 1     Georgette Elizabeth Correa                                                             Case number (if known)
                  First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     ErNo
     U Yes. List all payments to an insider.
                                                                       Dates of      Total amount      Amount you still Reason for this payment
                                                                       payment       paid              owe


           Insider's Name



           Number        Street




           City                                 State   ZIP Code




           Insider's Name


           Number        Street




           City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
    Include payments on debts guaranteed or cosigned by an insider.

     Er No
     U Yes. List all payments that benefited an insider.
                                                                      Dates of       Total amount      Amount you still Reason for this payment
                                                                      payment        paid              owe              Include creditor's name


           Insider's Name



           Number        Street




           City                                 State   ZIP Code




           Insider's Name



           Number        Street




           City                                 State   ZIP Code




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Debtor 1     Georgette Elizabeth Correa                                                                   Case number (if known)
               First Name         Middle Neale           Last Name




  Part 4:     Identity Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     El No
     LI Yes. Fill in the details.
                                                                Nature of the case                  Court or agency                               Status of the case


           Case title                                                                                                                             •    Pending
                                                                                                   Court Name
                                                                                                                                                  CI   On appeal
                                                                                                   Number     Street                              CI   Concluded

           Case number
                                                                                                   City                     State   ZIP Code




           Case title                                                                                                                             O Pending
                                                                                                   Court Name
                                                                                                                                                  O On appeal
                                                                                                   Number     Street                              El   Concluded

           Case number
                                                                                                   City                     State   ZIP Code


  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

     Ei No. Go to line 11.
     0 Yes. Fill in the information below.
                                                                          Describe the property                                      Date       Value of the property



                Creditor's Name



                Number      Street                                        Explain what happened

                                                                          CI   Property was repossessed.
                                                                          O    Property was foreclosed.
                                                                          LI   Property was garnished.
                City                             State   ZIP Code         0    Property was attached, seized, or levied.
                                                                          Describe the property                                      Date        Value of the propert)




                Creditor's Name



                Number      Street
                                                                          Explain what happened

                                                                           Li Property was repossessed.
                                                                               Property was foreclosed.
                                                                               Property was garnished.
                City                             State   ZIP Code
                                                                          0    Property was attached, seized, or levied.



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Debtor 1          Georgette Elizabeth Correa                                                             Case number drknowle
                   First Name    Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?

     El No
     •     Yes. Fill in the details.

                                                                 Describe the action the creditor took                          Date action      Amount
                                                                                                                                was taken
           Creditor's Name


           Number       Street




           City                           State   ZIP Code       Last 4 digits of account number: XXXX—


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?

     •     No
     O Yes



MO                List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     •     No
     O Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                             Dates you gave      Value
            per person                                                                                                          the gifts




           Person to Whom You Gave the Gift




           Number       Street


           City                           State   ZIP Code

           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                             Dates you gave     Value
           per person                                                                                                           the gifts



           Person to Whom You Gave the Gift




           Number       Street


           City                           State   ZIP Code

           Person's relationship to you


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Debtor 1          Georgette Elizabeth Correa                                                                     Case number (if know))
                   First Name     Middle Name                Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     El No
     U Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                     Describe what you contributed                                         Date you          Value
            that total more than $600                                                                                                     contributed




           Charity's Name




           Number      Street




           City           State        ZIP Code




  Part 6:          List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     air No
     U     Yes. Fill in the details.


            Describe the property you lost and                       Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                         loss              lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule A/13: Properly.




 Part 7:           List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     Er No
     U Yes. Fill in the details.

                                                                     Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                          transfer was
            Person Who Was Paid                                                                                                           made


            Number       Street




            City                         State    ZIP Code



            Email or website address


            Person Who Made the Payment, if Not You



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Debtor 1        Georgette Elizabeth Correa                                                                   Case number yrknow*
                   First Name      Middle Name              Lest Name




                                                                    Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                    transfer was made      payment

            Person Who Was Paid


            Number       Street




            City                        State    ZIP Code




            Email or website address


            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

         ' No
     U Yes. Fill in the details.

                                                                   Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                    transfer was
                                                                                                                                    made
            Person Who Was Paid


            Number        Street




            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     Er No
     U     Yes. Fill in the details.

                                                                   Description and value of property         Describe any property or payments received      Date transfer
                                                                   transferred                               or debts paid in exchange                       was made
            Person Who Received Transfer


            Number       Street




            City                       State     ZIP Code


            Person's relationship to you


            Person Who Received Transfer


            Number       Street




            City                       State     ZIP Code

            Person's relationship to you

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Debtor 1       Georgette Elizabeth Correa                                                                    Case number (iflemm)
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     El No
     0     Yes. Fill in the details.

                                                                   Description and value of the property transferred                                          Date transfer
                                                                                                                                                              was made


           Name of trust




 Part 8: List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

 20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
    brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     Ef No
     El Yes. Fill in the details.
                                                                   Last 4 digits of account number     Type of account or           Date account was       Last balance before
                                                                                                       instrument                   closed, sold, moved,   closing or transfer
                                                                                                                                    or transferred

            Name of Financial Institution
                                                                   X)00C—                              0 Checking
            Number Street                                                                              0 Savings
                                                                                                       LI Money market
                                                                                                       El Brokerage
            City                       State    ZIP Code
                                                                                                       0 Other

                                                                   )000t-                              U Checking
            Name of Financial Institution
                                                                                                       LI Savings
            Number Street                                                                              0 Money market
                                                                                                       U Brokerage
                                                                                                       CI Other
            City                       State    ZIP Code

 21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
    securities, cash, or other valuables?
     Er No
     CI Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                          Do you still
                                                                                                                                                                  have it?

                                                                                                                                                                  LI No
            Name of Financial Institution                         Name                                                                                            0   Yes


            Number Street                                         Number Street


                                                                  City       State      ZIP Code
            City                       State    ZIP Code


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Debtor 1          Georgette Elizabeth Correa                                                                         Case number yr knom)
                   First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
    U Yes. Fill in the details.
                                                  Who else has or had access to it?         Describe the contents                                          Do you still
                                                                                                                                                           have it?

                                                                                                                                                           ID No
            Name of Storage Facility                                Name
                                                                                                                                                           U Yes

            Number       Street                                     Number    Street


                                                                    City State ZIP Code

            City                        State     ZIP Code



                     Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     ffir No
     U Yes. Fill in the details.
                                                                   Where is the property?                                 Describe the property        Value


            Owner's Name

                                                                  Number     Street
            Number        Street



                                                                  City                          State     ZIP Code
            City                        State     ZIP Code

 Part 10:            Give Details About Environmental information

 For the purpose of Part 10, the following definitions apply:
 •   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.
 •   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.
 •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     • No
     U Yes. Fill in the details.
                                                                    Governmental unit                         Environmental law, if you know it       Date of notice



           Name of site                                            Governmental unit


           Number       Street                                     Number    Street


                                                                   City                State   ZIP Code



           City                        State     ZIP Code




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Debtor 1      Georgette Elizabeth Correa                                                                           Case number (Jam.)
                   First Name      Middle Name          Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     LE( No
     •     Yes. Flinn the details.
                                                              Governmental unit                                Environmental law, if you know it                   Date of notice



            Name of site                                      Governmental unit


            Number        Street                              Number     Street



                                                              City                  State    ZIP Code

            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative                proceeding under any environmental law? Include settlements and orders.
     id No
     • Yes. Fill in the details.
                                                                Court or agency                                                                                     Status of the
                                                                                                                    Nature of the case
                                                                                                                                                                    case

           Case title
                                                                Court Name                                                                                          U    Pending

                                                                                                                                                                    U    On appeal
                                                                Number     Street                                                                                   U    Concluded


           Case number
                                                                City                        State   ZIP Code


 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within   4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           U A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           al A member of a limited liability company (LLC) or limited liability partnership (LLP)
           U A partner in a partnership
           U An officer, director, or managing executive of a corporation
           U An owner of at least 5% of the voting or equity securities of a corporation

     El No. None of the above applies. Go to Part 12.
     U Yes. Check all that apply above and fill in the details below for each business.
                                                                Describe the nature of the business                               Employer Identification number
            Youthaging, LLC
                                                                                                                                  Do not include Social Security number or MN.
            Business Name
                                                               Life Coaching
            1404 Vinings Parkway, SE                                                                                              EIN:             —
            Number        Street
                                                                Name of accountant or bookkeeper                                  Dates business existed

                                                               None
            Smyrna                      GA       30080                                                                            From                 To
            City                        State    ZIP Code
                                                                Describe the nature of the business                               Employer Identification number
            Comfy Accommodations, LLC
                                                                                                                                  Do not include Social Security number or ITIN.
            Business Name
                                                              lAirbnb
            1404 Vinings Parkway, SE                                                                                              EIN:   8 7 _- 2 6 9 4 0 5
            Number        Street
                                                                Name of accountant or bookkeeper                                  Dates business existed

                                                                None
            Smyrna                      GA       30080                                                                            From                 To
            City                        State    ZIP Code

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Debtor 1     Georgette Elizabeth Correa                                                              Case number (if nown)
                  First Name   Middle Name          Last Name



                                                            Describe the nature of the business                      Employer Identification number
                                                                                                                     Do not include Social Security number or MN.
           Business Name
                                                                                                                     EIN:
           Number Street
                                                            Name of accountant or bookkeeper                         Dates business existed



                                                                                                                     From               To
           City                     State    ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

     El No
     U Yes. Fill in the details below.

                                                            Date issued



           Name                                             MM / DD / YYYY


           Number Street




           City                     State    ZIP Code




 Part 12:         Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. § 152, 1341, 1519, and 3571.



      X
           Signature of ebto 1                                               Signature of Debtor 2


           Date                                                              Data
      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      Serlo
      U     Yes



      Didi you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      M r No
      U    Yes. Name of person                                                                               Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                             Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:


Debtor 1              Georgette Elizabeth Correa
                      First Name                 Middle Name                   Last Name

Debtor 2
(Spouse, if filing)   First Name                 Middle Name                   Last Name


United States Bankruptcy Court for the:                        District of

Case number
                                                                                                                                                 LI Check if this is an
                                                                                                                                                    amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    El No. Go to Part 2.
    U Yes. Where is the property?
                                                                         What is the property? Check all that apply.
                                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                         U    Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                           Creditors VVho Have Claims Secured by Property.
                                                                         U    Duplex or multi-unit building
              Street address, if available, or other description
                                                                         U Condominium or cooperative                      Current value of the     Current value of the
                                                                         U Manufactured or mobile home                     entire property?         portion you own?
                                                                         U Land
                                                                         U Investment property
                                                                         U Timeshare                                       Describe the nature of your ownership
              City                            State     ZIP Code                                                           interest (such as fee simple, tenancy by
                                                                         U Other
                                                                                                                           the entireties, or a life estate), if known.
                                                                         Who has an interest in the property? Check one.
                                                                         U Debtor 1 only
              County                                                     U Debtor 2 only
                                                                         U Debtor 1 and Debtor 2 only                      U Check if this is community property
                                                                                                                             (see instructions)
                                                                         LI At least one of the debtors and another
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:
    If you own or have more than one, list here:
                                                                        What is the property? Check all that apply.
                                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                        U Single-family home                               the amount of any secured claims on Schedule D:
      1.2.                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                        U Duplex or multi-unit building
              Street address, if available, or other description
                                                                        U Condominium or cooperative                       Current value of the     Current value of the
                                                                        U Manufactured or mobile home                      entire property?         portion you own?
                                                                        U Land
                                                                        U Investment property
                                                                        U Timeshare                                        Describe the nature of your ownership
              City                            State     ZIP Code                                                           interest (such as fee simple, tenancy by
                                                                        U Other                                            the entireties, or a life estate), if known.
                                                                        Who has an interest in the property? Check one.
                                                                        U Debtor 1 only
              County                                                    U Debtor 2 only
                                                                        U Debtor 1 and Debtor 2 only                       CI Check if this is community property
                                                                        U At least one of the debtors and another             (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:


Official Form 106A/B                                                    Schedule NB: Property                                                               page 1
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Debtor 1       Georgette Elizabeth Correa                                                                  Case number (i known)
                  First Name     Middle Name            Last Name




                                                                    What is the property? Check all that apply.               Do not deduct secured claims or exemptions. Put
                                                                    0    Single-family home                                   the amount of any secured claims on Schedule D:
    1.3.                                                                                                                      Creditors Who Have Claims Secured by Properly.
           Street address, if available, or other description       0    Duplex or multi-unit building
                                                                    LI   Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                              entire property?          portion you own?
                                                                    O Manufactured or mobile home
                                                                    O Land
                                                                    O Investment property
           City                            State     ZIP Code       0    Timeshare                                            Describe the nature of your ownership
                                                                                                                              interest (such as fee simple, tenancy by
                                                                    O Other                                                   the entireties, or a life estate), if known.

                                                                    Who has an interest in the property? Check one.
                                                                    0 Debtor 1 only
           County
                                                                    LI Debtor 2 only
                                                                    LI Debtor 1 and Debtor 2 only                             0    Check if this is community property
                                                                                                                                   (see instructions)
                                                                    0    At least one of the debtors and another

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:



2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                      0.00
   you have attached for Part 1. Write that number here.




Part 2:      Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   LI   No
   Ef Yes


    3.1.   Make:                        Honda                       Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
           Model:                       Accord                      id Debtor 1 only
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                        2017                        0    Debtor 2 only
           Year:                                                                                                              Current value of the      Current value of the
                                                                    LI Debtor 1 and Debtor 2 only
           Approximate mileage:         245k                                                                                  entire property?          portion you own?
                                                                    LI At least one of the debtors and another
           Other information:
                                                                                                                                         4,500.00
                                                                    0 Check if this is community property (see
             I use this car for work:
                                                                         instructions)
             rideshare

   If you own or have more than one, describe here:

   3.2.    Make:                                                    Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                    LI Debtor 1 only                                          the amount of any secured claims on Schedule
           Model:                                                                                                             Creditors Who Have Claims Secured by Properly.
                                                                    LI Debtor 2 only
           Year:                                                                                                              Current value of the      Current value of the
                                                                    LI Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                               entire property?          portion you own?
                                                                    173 At least one of the debtors and another
           Other information:
                                                                    0 Check if this is community property (see
                                                                         instructions)




Official Form 106A/B                                                Schedule A/B: Property                                                                      page 2
              Case 23-51663-lrc               Doc 1             Filed 02/21/23 Entered 02/21/23 10:53:54                                     Desc P
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Debtor 1      Georgette Elizabeth Correa                                                           Case number (r 'mown)
               First Name       Middle Name       Last Name




   3.3. Make:                                                 Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                                             U Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                              U Debtor 2 only
           Year:                                                                                                      Current value of the      Current value of the
                                                              U Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                       entire property?          portion you own?
                                                              U At least one of the debtors and another
           Other information:
                                                              U Check if this is community property (see
                                                                 instructions)


   3.4. Make:                                                 Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                                             U Debtor 1 only
                                                                                                                      Creditors Who Have Claims Secured by Properly.
                                                              U Debtor 2 only
           Year:                                                                                                      Current value of the      Current value of the
                                                              U Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                       entire property?          portion you own?
                                                              U At least one of the debtors and another
           Other information:
                                                              U Check if this is community property (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   U No
   U Yes


   4.1. Make:                                                 Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                                             U Debtor 1 only
                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                              U Debtor 2 only
           Year:
                                                              U Debtor 1 and Debtor 2 only                            Current value of the      Current value of the
           Other information:                                 U At least one of the debtors and another               entire property?          portion you own?

                                                              U Check if this is community property (see
                                                                instructions)



   If you own or have more than one, list here:

   4.2. Make:                                                 Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                                             U Debtor 1 only
                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                              U Debtor 2 only
           Year:                                                                                                      Current value of the      Current value of the
                                                              U Debtor 1 and Debtor 2 only
           Other information:                                                                                         entire property?          portion you own?
                                                              U At least one of the debtors and another


                                                              U Check if this is community property (see
                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                       4,500.00
   you have attached for Part 2. Write that number here                                                                                  4




Official Form 106A/B                                           Schedule A/B: Property                                                                  page 3
              Case 23-51663-lrc                Doc 1          Filed 02/21/23 Entered 02/21/23 10:53:54                      Desc P
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 Debtor 1     Georgette Elizabeth Correa                                                        Case number iirknown)
               First Name       Middle Name      Last Name




Part 3:     Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?                                         Current value of the
                                                                                                                          portion you own?
                                                                                                                          Do not deduct secured claims
                                                                                                                          or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   El No
   O Yes. Describe              sofa, loveseat, bed, bunkbed, desk, nightstands, shoe rack, lamps, mirrors                                2,500.00
                            I
7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   O No
   O Yes. Describe              laptop, monitor, printer, cell phone                                                                         800.00

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   O No
   O Yes. Describe

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   • No
   O Yes. Describe


10.Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   O No
   O Yes. Describe

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   ▪ No
   O Yes. Describe        Everyday clothes, shoes, sneakers                                                                               1,000.00

12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   10 No
   O Yes. Describe

13.Non-farm animals
   Examples: Dogs, cats, birds, horses
   0    No
   CI   Yes. Describe

14.Any other personal and household items you did not already list, including any health aids you did not list

   id No
   LI Yes. Give specific
      information.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                          4,300.00
    for Part 3. Write that number here



Official Form 106A/B                                         Schedule NB: Property                                                     page 4
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Debtor 1     Georgette Elizabeth Correa                                                       Case number grknows)
              First Name    Middle Name           Last Name




Part 4:     Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured claims
                                                                                                                                   or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   10 No
   Li Yes                                                                                                    Cash:



17.Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.

       No
   LI Yes                                                      Institution name:


                             17.1. Checking account:           Capital One                                                                          137.28
                             17.2. Checking account:

                             17.3. Savings account:

                             17.4. Savings account:

                             17.5. Certificates of deposit:

                             17.6. Other financial account:

                             17.7. Other financial account:

                             17.8. Other financial account:

                             17.9. Other financial account:




18.Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   LI No
   El Yes                    Institution or issuer name:

                             Robinhood                                                                                                            1,018.00




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
      LLC, partnership, and joint venture

       No                    Name of entity:                                                                 % of ownership:
   13 Yes. Give specific                                                                                     0%          %
      information about
      them                                                                                                   0%
                                                                                                             0%




Official Form 106NB                                           Schedule A/B: Property                                                            page 5
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Debtor 1     Georgette Elizabeth Correa                                                        Case number (ifknown)
               Mist Name     Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   El No
   LI Yes. Give specific     Issuer name:
      information about
      them




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   El No
   LI Yes. List each
      account separately.    Type of account:          Institution name:

                             401(k) or similar plan:

                             Pension plan:

                             IRA:

                             Retirement account:

                             Keogh:

                             Additional account:

                             Additional account:



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

       No
   LI Yes                                          Institution name or individual:
                             Electric:

                             Gas:

                             Heating oil:

                             Security deposit on rental unit

                             Prepaid rent:

                             Telephone:

                             Water:

                             Rented furniture:

                             Other:



23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   El No
   LI Yes                     Issuer name and description:




Official Form 106A/B                                            Schedule NB: Property                                                  page 6
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 Debtor 1     Georgette Elizabeth Correa                                                         Case number (if known)
               First Name     Middle Name         Leit Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
     26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   El No
   U Yes                             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   El No
   Li   Yes. Give specific
        information about them....


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   Vi No
   Li Yes. Give specific
        information about them....


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   O No
   Li   Yes. Give specific
        information about them....


Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.
28. Tax refunds owed to you
   El No
   Li   Yes. Give specific information
                                                                                                                  Federal:
             about them, including whether
             you already filed the returns                                                                        State:
             and the tax years.
                                                                                                                  Local:


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   LI No
   LI Yes. Give specific information
                                                                                                                 Alimony:
                                                                                                                 Maintenance:
                                                                                                                 Support:
                                                                                                                 Divorce settlement:
                                                                                                                 Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
   El No
   U Yes. Give specific information




Official Form 106A/B                                          Schedule NB: Property                                                                 page 7
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Debtor 1      Georgette Elizabeth Correa                                                                Case number (irknown)
                First Name     Middle Name           Last Name




31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

   0   No
   •   Yes. Name the insurance company           Company name:                                             Beneficiary:                             Surrender or refund value:
            of each policy and list its value...




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
   O No
   U Yes. Give specific information



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

   01 No
   LI Yes. Describe each claim.


34.Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   O No
   U Yes. Describe each claim.




35. Any financial assets you did not already list

   O No
   •   Yes. Give specific information
                                                                                                                                              is

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here                                                                                                                            1,155.28




Part 5:      Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
   O No. Go to Part 6.
   U Yes. Go to line 38.

                                                                                                                                                  Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                  or exemptions.

38. Accounts receivable or commissions you already earned
   O No
   U Yes. Describe


39. Office equipment, furnishings, and supplies
   Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
   O No
   U Yes. Describe




Official Form 106A/B                                             Schedule NB: Property                                                                         page 8
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Debtor 1     Georgette Elizabeth Correa                                                  Case number of known)
               First Name     Middle Name       Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   El' No
   U Yes. Describe



41. Inventory
   a    No
     El Yes. Describe


42. Interests in partnerships or joint ventures
   Ef No
   EI Yes. Describe          Name of entity:                                                               % of ownership:




43. Customer lists, mailing lists, or other compilations
    fir No
    U Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
            U No
            U Yes. Describe



44. Any business-related property you did not already list
    I f No
    U Yes. Give specific
        information




45.Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                    0.00
   for Part 5. Write that number here




Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
   •   Yes. Go to line 47.

                                                                                                                             Current value of the
                                                                                                                             portion you own?
                                                                                                                             Do not deduct secured claims
                                                                                                                             or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
   la No
   U Yes




Official Form 106A/B                                        Schedule NB: Property                                                         page 9
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Debtor 1     Georgette Elizabeth Correa                                                  Case number (if known)
               First Name    Middle Name       Last Name




48.Crops—either growing or harvested
   El No
   U Yes. Give specific
      information.

49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   id No
   U Yes



50. Farm and fishing supplies, chemicals, and feed
   El No
   U Yes



51.Any farm- and commercial fishing-related property you did not already list
   El No
   U Yes. Give specific
      information.

52.Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
   for Part 6. Write that number here



Part 7:     Describe All Property You Own or Have an Interest in That You Did Not List Above

53.Do you have other property of any kind you did not already list?
   Examples: Season tickets, country club membership

   El No
   U Yes. Give specific
      information.




54. Add the dollar value of all of your entries from Part 7. Write that number here



Part 8:     List the Totals of Each Part of this Form

55.Part 1: Total real estate, line 2                                                                                          $         0.00

56.Part 2: Total vehicles, line 5                                               4,500.00

57.Part 3: Total personal and household items, line 15                          4,300.00

58.Part 4: Total financial assets, line 36                                      1,155.28

59.Part 5: Total business-related property, line 45                                   0.00

60.Part 6: Total farm- and fishing-related property, line 52                          0.00

61.Part 7: Total other property not listed, line 54                   -Fs             0.00

62.Total personal property. Add lines 56 through 61.                            9,955.28     Copy personal property total 4   +$    9,955.28


63.Total of all property on Schedule NB. Add line 55 + line 62                                                                      9,955.28


Official Form 106A/B                                       Schedule A/B: Property                                                   page 10
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 Fill in this information to identify your case:


 Debtor 1              EGR6erre ELIZA
                    First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name            MkIdle Name                 Last Name


 United States Bankruptcy Court for the:                 District of

 Case number                                                                                                                            U Check if this is an
  (If known)
                                                                                                                                          amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, If you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      U You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      U You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule Agt that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
       Schedule NB that lists this property                 portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule IVB

      Brief        /)g)
      description:                                           $41 500 0°               V
      Line from
      Schedule NB:
                                                                                   V100% of fair market value, up to
                                                                                     any applicable statutory limit                             ugix
      Brief
      description: 1:.(Vilt ,              lac                     at)              us
                                                                                      100% of fair market value, up to
      Line from
      Schedule AM:           AoriL                                                    any applicable statutory limit        9-raw graigiks
      Brief
      description:            eLeelVDAI ICC 4 -)Cte°                               Us
      Line from                                                                        00% of fair market value, up to
      Schedule Akt:                                                                   any applicable statutory limit


 3. Are yo claiming a homestead exemption of more than $189,050?
    (Sub- ct to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)


     U Ye • Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
          U       Yes


Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                         page 1 of
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Fill in this information to identify your case:


 Debtor 1              Georgette Elizabeth Correa
                       First Name                Middle Name                    Last Name

 Debtor 2
 (Spouse, If filing)   First Name                Middle Name                    Last Name


 United States Bankruptcy Court for the:                       District of

 Case number
 (If known)                                                                                                                                U Check if this is an
                                                                                                                                             amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).


1. Do any creditors have claims secured by your property?
      U      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      Elf Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                         Column A                   Column B              Column C
3. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim             Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                            that supports this    portion
                                                                                                         Do not deduct the
   As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral.       claim                 If any
2.1                                                                                                                      7,836.99 $
       Wells Fargo Auto                                   Describe the property that secures the claim:
      Creditor's Name
                                                          2017 Honda Accord
      Number             Street

       800 Walnut Street                                  As of the date you file, the claim is: Check all that apply.
                                                           •     Contingent
       Des Moine                    IA      50309                Unliquidated
      City                          State   ZIP Code       •     Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
  ir Debtor 1 only                                         O An agreement you made (such as mortgage or secured
   O Debtor 2 only                                           car loan)
  O Debtor 1 and Debtor 2 only                             O Statutory lien (such as tax lien, mechanic's lien)
   O At least one of the debtors and another               O Judgment lien from a lawsuit
                                                           O Other (including a right to offset)
  CI      Check if this claim relates to a
          community debt
  Date debt was incurred                                  Last 4 digits of account number
2.21
                                                          Describe the property that secures the claim:
      Creditor's Name

      Number             Street
                                                          As of the date you file, the claim is: Check all that apply.
                                                           O Contingent
                                                           •     Unliquidated
      City                          State   ZIP Code       O Disputed
  Who owes the debt? Check one.                           Nature of lien. Check all that apply.
  O Debtor 1 only                                          O An agreement you made (such as mortgage or secured
  O Debtor 2 only                                            car loan)
  O Debtor 1 and Debtor 2 only                             O Statutory lien (such as tax lien, mechanic's lien)
  O At least one of the debtors and another                •     Judgment lien from a lawsuit
                                                          LI     Otter (including a right to offset)
  ▪       Check if this claim relates to a
          community debt
  Date debt was incurred                                  Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                            7.836.99

 Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of
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Debtor 1         Georgette Elizabeth Correa                                                            Case number (ffknown)
                  First Name    Middle Name          Last Name


               Additional Page                                                                                      Column A               Column B              Column C
Part 1:                                                                                                             Amount of claim        Value of collateral   Unsecured
               After listing any entries on this page, number them beginning with 2.3, followed
                                                                                                                    Do not deduct the      that supports this    portion
               by 2.4, and so forth.                                                                                                       claim
                                                                                                                    value of collateral.                         If any

                                                     Describe the property that secures the claim:
     Creditor's Name

     Number            Street

                                                     As of the date you file, the claim is: Check all that apply.
                                                     O Contingent
     City                       State    ZIP Code    •    Unliquidated
                                                     LI   Disputed
 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
 O Debtor 1 only                                     O An agreement you made (such as mortgage or secured
 O Debtor 2 only                                       car loan)
 O Debtor 1 and Debtor 2 only                        O Statutory lien (such as tax lien, mechanic's lien)
 O At least one of the debtors and another           O Judgment lien from a lawsuit
                                                     D    Other (including a right to offset)
 O Check if this claim relates to a
   community debt

 Date debt was incurred                              Last 4 digits of account number
                                                                         -     ——
                                                     Describe the property that secures the claim:
     Creditor's Name

     Number            Street
                                                     As of the date you file, the claim is: Check all that apply.
                                                     O Contingent
                                                     •    Unliquidated
     City                       State    ZIP Code
                                                     O Disputed
 Who owes the debt? Check one.
                                                     Nature of lien. Check all that apply.
 O Debtor 1 only
                                                     O An agreement you made (such as mortgage or secured
 •     Debtor 2 only                                   car loan)
 O Debtor 1 and Debtor 2 only                        O Statutory lien (such as tax lien, mechanic's lien)
 O At least one of the debtors and another           O Judgment lien from a lawsuit
                                                     O Other (including a right to offset)
 Li Check if this claim relates to a
    community debt

 Date debt was incurred                              Last 4 digits of account number


      -
     Creditor's Name
                                                     Describe the property that secures the claim:


     Number            Street


                                                     As of the date you file, the claim is: Check all that apply.
                                                     O Contingent
     City                       State    ZIP Code    •    Unliquidated
                                                     CI   Disputed
 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
 O Debtor 1 only                                     O An agreement you made (such as mortgage or secured
 O Debtor 2 only                                       car loan)
 O Debtor 1 and Debtor 2 only                        O Statutory lien (such as tax lien, mechanic's lien)
 O At least one of the debtors and another           O Judgment lien from a lawsuit
                                                     LI   Other (including a right to offset)
 D     Check if this claim relates to a
       community debt
 Date debt was incurred                              Last 4 digits of account number_

            Add the dollar value of your entries in Column A on this page. Write that number here:
            If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                                    $ q, _47`1.1
            Write that number here:                                                                                  •(1 g503ff
Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page       of
                  Case 23-51663-lrc                      Doc 1          Filed 02/21/23 Entered 02/21/23 10:53:54                                           Desc P
                                                                             Page 35 of 58
   Fill in this information to identify your case:


   Debtor 1          Georgette Elizabeth Correa
                      First Name                   Middle Name                     Last Name
   Debtor 2
   (Spouse, if filing) First Name                  Middle Name                     Last Name

   United States Bankruptcy Court for the:                       District of

   Case number
                                                                                                                                                                Check if this is an
   (If known)                                                                                                                                                   amended filing

 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

  Part 1:         List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
       D No. Go to Part 2.
     El Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
       each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
       nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
       unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                           Total claim     Priority     Nonpriority
                                                                                                                                                           amount       amount

         Aspire                                                         Last 4 digits of account number        1    3    8     1      $         986.89$
        Priority Creditor's Name
                                                                        When was the debt incurred?
        Number            Street
        P.O. Box 105555
                                                                        As of the date you file, the claim is: Check all that apply.
        Atlanta                            GA 30348
        City                              State     ZIP Code            O Contingent
                                                                          Unliquidated
        Who incurred the debt? Check one.
                                                                        U Disputed
        la     Debtor 1 only
        U      Debtor 2 only                                            Type of PRIORITY unsecured claim:
        U      Debtor 1 and Debtor 2 only
                                                                        U Domestic support obligations
        U      At least one of the debtors and another
                                                                        •      Taxes and certain other debts you owe the government
        U Check if this claim is for a community debt
                                                                        ElClaims for death or personal injury while you were
        Is the claim subject to offset?                                   intoxicated
        U No                                                            U Other. Specify
        U Yes

12.2     Care Credit                                                    Last 4 digits of account number 3           0    5     9       $      2,839.58 $
        Priority Creditor's Name
                                                                        When was the debt incurred?
        Number            Street
         P.O. Box 960061                                                As of the date you file, the claim is: Check all that apply.
         Orlando                           FL      32896                U Contingent
        City                              State     ZIP Code            air Unliquidated
        Who incurred the debt? Check one.                               U Disputed
          Debtor 1 only
                                                                        Type of PRIORITY unsecured claim:
        U Debtor 2 only
                                                                        O Domestic support obligations
        • Debtor 1 and Debtor 2 only
          At least one of the debtors and another                       •      Taxes and certain other debts you owe the government
                                                                        O Claims for death or personal injury while you were
        U Check if this claim is for a community debt                     intoxicated
        Is the claim subject to offset?                                 • Other. Specify
        U No
        U Yes


 Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of
                Case 23-51663-lrc                   Doc 1             Filed 02/21/23 Entered 02/21/23 10:53:54                                     Desc P
                                                                           Page 36 of 58
 Debtor 1       Georgette Elizabeth Correa                                                               Case number (if known)
                  First Name      Middle Name         Last Name


 Part 1:         Your PRIORITY Unsecured Claims — Continuation Page

1 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                          Total claim   Priority    Nonpriority
                                                                                                                                                amount      amount

1.3    Credit One                                                 Last 4 digits of account number 5          1    5      7        $    411.61 $
       Priority Creditor's Name

                                                                  When was the debt incurred?
       Number          Street
       6801 S. Cimarron Rd.                                       As of the date you file, the claim is: Check all that apply.

       Las Vegas                        NV       89113            U Contingent
       City                             State    ZIP Code              Unliquidated
                                                                  U Disputed
       Who incurred the debt? Check one.
       g Debtor 1 only                                            Type of PRIORITY unsecured claim:
       U Debtor 2 only
                                                                  U Domestic support obligations
       U Debtor 1 and Debtor 2 only
                                                                  U Taxes and certain other debts you owe the government
       U At least one of the debtors and another
                                                                  U Claims for death or personal injury while you were
       U Check if this claim is for a community debt                 intoxicated
                                                                  LI Other. Specify
       Is the claim subject to offset?
       U No
       U Yes


       Credit One                                                 Last 4 digits of account number       2    5    5      8        $   1,063.91 $
       Priority Creditor's Name

                                                                  When was the debt incurred?
       Number           Street
       6801 S. Cimarron Rd.                                       As of the date you file, the claim is: Check all that apply.

       Las Vegas                         NV      89113            U Contingent
       City                             State    ZIP Code         ▪    Unliquidated
                                                                  U Disputed
       Who incurred the debt? Check one.
       (Er Debtor 1only                                           Type of PRIORITY unsecured claim:
       U Debtor 2 only
                                                                  U Domestic support obligations
       U Debtor 1 and Debtor 2 only
                                                                  U Taxes and certain other debts you owe the government
       U At least one of the debtors and another
                                                                  U Claims for death or personal injury while you were
       U Check if this claim is for a community debt                intoxicated
                                                                  U Other. Specify
       Is the claim subject to offset?
       U No
       U Yes
 2.5   Tires Plus                                                                                                                 $   1,156.74 $
                                                                  Last 4 digits of account number 6          2    3
       Priority Creditor's Name

                                                                  When was the debt incurred?
       Number           Street
       6275 Eastland Rd.                                          As of the date you file, the claim is: Check all that apply.

       Brookpark                         OH      44142            U Contingent
       City                              State   ZIP Code         •    Unliquidated
                                                                  U Disputed
       Who incurred the debt? Check one.
       SI Debtor 1 only                                           Type of PRIORITY unsecured claim:
       U Debtor 2 only
                                                                  U Domestic support obligations
       U Debtor 1 and Debtor 2 only
                                                                  U Taxes and certain other debts you owe the government
       U At least one of the debtors and another
                                                                  U Claims for death or personal injury while you were
       U Check if this claim Is for a community debt                intoxicated
                                                                  U Other. Specify
       Is the claim subject to offset?
       U No
       U Yes


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                   page /   of
                Case 23-51663-lrc                      Doc 1            Filed 02/21/23 Entered 02/21/23 10:53:54                                   Desc P
                 Georgette Elizabeth Correa
                                                                             Page 37 of 58
 Debtor 1                                                                                                  Case number (it-known)
                  First Name      Middle Name           Last Name

 Part 1:         Your PRIORITY Unsecured Claims — Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                             Total claim   Priority   Nonpriority F
                                                                                                                                                  amount     amount


41     Capital One
      Priority Creditor's Name
                                                                    Last 4 digits of account number       9    6    6      1        $ 2,498.10 $

                                                                    When was the debt incurred?          01/02/2021
      Number           Street
      1680 Capital One Drive                                        As of the date you file, the claim is: Check all that apply.

      McClean                           VA        22102             LI Contingent
      City                              State     ZIP Code          U Unliquidated
                                                                    U Disputed
      Who incurred the debt? Check one.
      lif Debtor 1 only                                             Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                    U Domestic support obligations
      LI Debtor 1 and Debtor 2 only
                                                                    U Taxes and certain other debts you owe the government
      U At least one of the debtors and another
                                                                    U Claims for death or personal injury while you were
      U Check if this claim is for a community debt                   intoxicated
                                                                    U Other. Specify
      Is the claim subject to offset?
      U No
      U Yes


      Capital One                                                   Last 4 digits of account number       0    3    6      5        $ 4,420.86 $
      Priority Creditors Name

                                                                    When was the debt incurred?          01/02/2021
      Number           Street
      1680 Capital One Drive                                        As of the date you file, the claim is: Check all that apply.

      McClean                            VA       22102             U Contingent
      City                              State     ZIP Code                Unliquidated
                                                                    U Disputed
      Who incurred the debt? Check one.
      0      Debtor 1 only                                          Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                    •     Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                    U Taxes and certain other debts you owe the government
      U At least one of the debtors and another
                                                                    U Claims for death or personal injury while you were
      U Check if this claim is for a community debt                   intoxicated
                                                                    U Other. Specify
      Is the claim subject to offset?
      LI No
      U Yes

      Midtown Athletic Club                                         Last 4 digits of account number             2.51)1              $   800.00 $
      Priority Creditor's Name

                                                                    When was the debt incurred?          06/12/2022
      Number           Street
      3611 N. Kedzie Avenue                                         As of the date you file, the claim is: Check all that apply.

      Chicago                            ILL      60618             L1/ Contingent
      City                              State     ZIP Code          Gil   Unliquidated
                                                                    U Disputed
      Who incurred the debt? Check one.
      U1 Debtor 1 only                                              Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                    U Domestic support obligations
      LI Debtor 1 and Debtor 2 only
                                                                    1:1
                                                                      Taxes and certain other debts you owe the government
             At least one of the debtors and another
                                                                    U Claims for death or personal injury while you were
      U Check if this claim Is for a community debt                   intoxicated
                                                                    U Other. Specify
      Is the claim subject to offset?
      U No
      U Yes


Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims
                Case 23-51663-lrc                   Doc 1         Filed 02/21/23 Entered 02/21/23 10:53:54                                       Desc P
                                                                       Page 38 of 58
Debtor 1        Georgette Elizabeth Correa                                                               Case number (if known)
                   First Name     Middle Name         Last Name

                   Your PRIORITY Unsecured Claims — Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                           Total claim   Priority   Nonpriority
                                                                                                                                                amount     amount


pl Great Lakes
      Priority Creditor's Name
                                                                                               d440763)
                                                                  Last 4 digits of account numb(                                  $17,716.00 $

                                                                  When was the debt incurred?          02/05/2011
      Number            Street
      P.O. Box 7860                                               As of the date you file, the claim is: Check all that apply.

      Madison                           WI       53707            U Contingent
      City                              State    ZIP Code         U Unliquidated
                                                                  Li Disputed
      Who incurred the debt? Check one.
             Debtor 1 only                                        Type of PRIORITY unsecured claim:
      El Debtor 2 only
                                                                  U Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                  El Taxes and certain other debts you owe the government
      U At least one of the debtors and another
                                                                  U Claims for death or personal injury while you were
                                                                    intoxicated
      U Check if this claim is for a community debt
                                                                  U Other. Specify

      Is the claim subject to offset?
      U No
      U Yes


                                                                  Last 4 digits of account number
      Priority Creditor's Name

                                                                  When was the debt incurred?
      Number             Street

                                                                  As of the date you file, the claim is: Check all that apply.

                                                                  U Contingent
      City                               State   ZIP Code         •    Unliquidated
                                                                  El Disputed
      Who incurred the debt? Check one.
      U Debtor 1 only                                             Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                  U Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                  U Taxes and certain other debts you owe the government
      U At least one of the debtors and another
                                                                  U Claims for death or personal injury while you were
                                                                     intoxicated
      U Check if this claim is for a community debt
                                                                  El Other. Specify
      Is the claim subject to offset?
      El No
             Yes


                                                                  Last 4 digits of account number                                 $
      Priority Creditor's Name

                                                                  When was the debt incurred?
      Number             Street

                                                                  As of the date you file, the claim is: Check all that apply.

                                                                  El Contingent
      City                               State   ZIP Code         LA   Unliquidated
                                                                  El Disputed
      Who incurred the debt? Check one.
      U Debtor 1 only                                             Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                  U Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                  U Taxes and certain other debts you owe the government
      El At least one of the debtors and another
                                                                  U Claims for death or personal injury while you were
                                                                    intoxicated
      U Check if this claim is for a community debt
                                                                  D Other. Specify
      Is the claim subject to offset?
      U No
      U Yes


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                  page    of
                 Case 23-51663-lrc                    Doc 1             Filed 02/21/23 Entered 02/21/23 10:53:54                         Desc P
                                                                             Page 39 of 58

 Fill in this information to identify your case:


 Debtor               Georgette Elizabeth Correa
                      First Name               Middle Noise                 Last Name

 Debtor 2
 (Spouse If filing)   Fist Name                Middle Name                  Lest Name


 United States Bankruptcy Court for the:                      District of

 Case number
  (If known)                                                                                                                            U   Check if this is an
                                                                                                                                            amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
       ET No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule NB: Property (Official Form 106A/13).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



       Person or company with whom you have the contract or lease                              State what the contract or lease is for


2.11
       Name

       Number            Street

       City                                State      ZIP Code

2.21
       Name

       Number            Street

       City                                State      ZIP Code


       Name

       Number            Street

       City                                State      ZIP Code
2.4!
       Name

       Number            Street

       City                                State      ZIP Code
2.51
       Name

       Number            Street

       City                                State      ZIP Code


Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                       page 1 of
                 Case 23-51663-lrc                       Doc 1        Filed 02/21/23 Entered 02/21/23 10:53:54                    Desc P
                                                                           Page 40 of 58
 Debtor 1      Georgette Elizabeth Correa                                                        Case number (If known)
                 First Name     Middle Name               Last Name



                 Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                            What the contract or lease Is for



        Name


        Number        Street


        City                                  State      ZIP Code

  2.
 _
        Name


        Number        Street


        City                                  State      ZIP Code

  2._

        Name


        Number        Street


        City                                  State      ZIP Code

  2._

        Name


        Number        Street


        City                                  State      ZIP Code

  2.

        Name


        Number         Street


        City                                  State      ZIP Code




        Name


        Number         Street


        City                                  State      ZIP Code




        Name


        Number         Street


        City                                  State      ZIP Code

  2._

        Name


        Number        Street


        City                                  State      ZIP Code



Official Form 106G                                    Schedule G: Executory Contracts and Unexpired Leases                          page   of
                  Case 23-51663-lrc                       Doc 1                Filed 02/21/23 Entered 02/21/23 10:53:54                              Desc P
                                                                                    Page 41 of 58

 Fill in this information to identify your case:

 Debtor 1           Georgette Elizabeth Correa
                     Flat Name                        Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing) First Name                       Middle Name                    Last Name


 United States Bankruptcy Court for the:                            District of

 Case number
 (If known)
                                                                                                                                                      El Check if this is an
                                                                                                                                                         amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                             12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      •     No
      1:1 Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      Ei No. Go to line 3.
      •     Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            U No
              Yes. In which community state or territory did you live?                                        . Fill in the name and current address of that person.


                   Name of your spouse, former spouse, or legal equivalent



                   Number            Street



                   City                                             State                        ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 106D), Schedule E/F (Official Form 106EIF), or Schedule G (Official Form 106G). Use Schedule D,
     Schedule E/F, or Schedule G to fill out Column 2.

          Column 1: Your codebtor                                                                                     Column 2: The creditor to whom you owe the debt

                                                                                                                      Check all schedules that apply:

                                                                                                                       O Schedule D, line
           Name
                                                                                                                       •    Schedule E/F, line
           Number           Street                                                                                     O Schedule G, line

                                                                       State                      ZIP Code



                                                                                                                       O Schedule D, line
           Name
                                                                                                                       U Schedule E/F, line
                                                                                                                       •    Schedule G, line

                                                                       State                       ZIP Code



                                                                                                                       U Schedule D, line
           Name
                                                                                                                       LI   Schedule E/F, line
           Number           Street                                                                                     U Schedule G, line

           City                                                        State                       ZIP Code



Official Form 106H                                                                Schedule H: Your Codebtors                                                 page 1 of
                Case 23-51663-lrc             Doc 1        Filed 02/21/23 Entered 02/21/23 10:53:54                             Desc P
                                                                Page 42 of 58
 Debtor 1       Georgette Elizabeth Correa                                              Case number or known)
                First Name      Mlddle Name   Last Name



                Additional Page to List More Codebtors

      Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                              Check all schedules that apply:
 3.

                                                                                               U Schedule D, line
       Name
                                                                                               U Schedule EJF, line
       Number         Street                                                                   Ci Schedule G, line


       City                                        State                   ZIP Code


                                                                                               U Schedule D, line
       Name
                                                                                               0   Schedule E/F, line
       Number         Street                                                                   U Schedule G, line


       City                                        Slate                   ZIP Code


                                                                                               U Schedule D, line
       Name
                                                                                                   Schedule E/F, line
       Number          Street                                                                  Li Schedule G, line


       City                                        State                   ZIP Code

 3.
                                                                                               U Schedule D, line
       Name
                                                                                                   Schedule E/F, line
       Number          Street                                                                  U Schedule G, line


       City                                        State                   ZIP Code
 3.
                                                                                               Li Schedule D, line
       Name
                                                                                               U Schedule E/F, line
       Number          Street                                                                  U Schedule G, line


       City                                        State                   ZIP Code


                                                                                               El Schedule D, line
       Name
                                                                                                   Schedule E/F, line
       Number          Street                                                                  D Schedule G, line

       City                                        State                   ZIP Code


                                                                                               U Schedule D, line
       Name
                                                                                               U Schedule E/F, line
       Number          Street                                                                      Schedule G, line


       City                                        State                   ZIP Code
 u

       Name
                                                                                                   Schedule D, line
                                                                                               El Schedule E/F, line
       Number          Street                                                                  U Schedule G, line


                                                   State                   ZIP Code




Official Form 106H                                         Schedule H: Your Codebtors                                             page   of
               Case 23-51663-lrc                 Doc 1             Filed 02/21/23 Entered 02/21/23 10:53:54                                Desc P
                                                                        Page 43 of 58

 Fill in this information to identify your case:


 Debtor 1           Georgette Elizabeth Correa
                    Rrst Name                Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name                   Last Name


 United States Bankruptcy Court for the:                   District of

 Case number                                                                                                Check if this is:
  (If known)
                                                                                                            LI An amended filing
                                                                                                            Li A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 1061                                                                                               MM / DD/ YYYY

Schedule I: Your Income                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
   information.                                                                  Debtor 1                                  Debtor 2 or non-filing spouse
    If you have more than one job,
    attach a separate page with
    information about additional           Employment status                  El Employed                                     Employed
    employers.                                                                U Not employed                               El Not employed
    Include part-time, seasonal, or
    self-employed work.
                                           Occupation                       Rideshare Driver
    Occupation may include student
    or homemaker, if it applies.
                                           Employer's name                  Uber

                                           Employer's address               1455 Market Street
                                                                             Number Street                               Number   Street
                                                                            Suite 400


                                                                            Sanfrancisco             CA     94103
                                                                             City            State    ZIP Code           City                 State ZIP Code
                                           How long employed there?              7 years                                   7 years

 Part 2:          Give Details About Monthly Income

   Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
   spouse unless you are separated.
   If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
   below. If you need more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1        For Debtor 2 or
                                                                                                                          non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.
                                                                                             2-      $    3,500.00
 3. Estimate and list monthly overtime pay.                                                  3. +$               0.00    + $

 4. Calculate gross income. Add line 2 + line 3.                                             4.      $ 3,500.00



Official Form 1061                                                       Schedule I: Your Income                                                   page 1
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                                                                 Page 44 of 58

Debtor 1       Georgette Elizabeth Correa                                                   Case number (irkioven)
               First Name   Middle Name         Last Name



                                                                                           For Debtor 1              For Debtor 2 or
                                                                                                                     non-filino spouse
   Copy line 4 here                                                              4   4.    $    3,500.00

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                               5a.   $          0.00             $
     5b. Mandatory contributions for retirement plans                                5b.   $          0.00             $
     5c. Voluntary contributions for retirement plans                                5c.   $          0.00             $
     5d. Required repayments of retirement fund loans                                5d.   $          0.00             $
     5e. Insurance                                                                   5e.   $          0.00             $
     5f. Domestic support obligations                                                5f.   $          0.00             $
     5g. Union dues                                                                  5g.   $          0.00             $
     5h. Other deductions. Specify:                                                  5h. +$           0.00           +$
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.      6.    $          0.00             $

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.              7.    $    3,500.00               $

 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
         Attach a statement for each property and business showing gross
         receipts, ordinary and necessary business expenses, and the total
         monthly net income.
                                                                                                      0.00             $
                                                                                     8a.
     8b.Interest and dividends                                                 8b.         $          0.00             $
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
         Include alimony, spousal support, child support, maintenance, divorce
         settlement, and property settlement.
                                                                                                       0.00            $
                                                                               8c.
     8d. Unemployment compensation                                                   8d.   $           0.00
     8e. Social Security                                                             8e.   $          0.00             $
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify:                                                                  8f.     $           0.00            $
     8g.Pension or retirement income                                                 8g.   $          0.00
     8h.Other monthly income. Specify:                                               8h. +$           0.00           +$
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.            9.               0.00

10. Calculate monthly income. Add line 7 + line 9.
                                                                                           $    3,500.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.       10.

11.State all other regular contributions to the expenses that you list in Schedule J
   Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
   friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                         11.   $            0.00
12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
   Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                12.
                                                                                                                                           $      3,500.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     RI No.
        Yes. Explain:


Official Form 1061                                             Schedule I: Your Income                                                         page 2
                   Case 23-51663-lrc                Doc 1            Filed 02/21/23 Entered 02/21/23 10:53:54                                Desc P
                                                                          Page 45 of 58

   Fill in this information to identify your case:

   Debtor 1         Georgette Elizabeth Correa
                      First Name              Middle Name                 Last Name                      Check if this is:
   Debtor 2                                                                                              U An amended filing
   (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                         U A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the:                  District of                                    expenses as of the following date:
   Case number                                                                                               MM / DD/ YYYY
   (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                  12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

    el No. Go to line 2.
    U Yes. Does Debtor 2 live in a separate household?

                 LI No
                 U Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                  O No
                                                                                      Dependent's relationship to              Dependent's     Does dependent live
    Do not list Debtor 1 and                 d Yes. Fill out this information for     Debtor 1 or Debtor 2                     age             with you?
    Debtor 2.                                   each dependent
                                                                                                                                               0 • No
    Do not state the dependents'                                                      Daughter                                 31
    names.                                                                                                                                     Oil Yes

                                                                                      Grandson                                 5               CI• No
                                                                                                                                               11 Yes
                                                                                                                                               LI No
                                                                                                                                               1:-.1• Yes
                                                                                                                                               0 • No
                                                                                                                                               0 Yes
                                                                                                                                               0 • No
                                                                                                                                               0 Yes

 3. Do your expenses include
                                             El No
    expenses of people other than
    yourself and your dependents?            U Yes

 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule 1: Your Income (Official Form 1061.)                                              Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                1,100.00
     any rent for the ground or lot.                                                                                     4.
      If not included in line 4:
      4a. Real estate taxes                                                                                              4a.       $
      4b. Property, homeowner's, or renter's insurance                                                                   4b.       $
      4c. Home maintenance, repair, and upkeep expenses                                                                  4c.       $
      4d. Homeowner's association or condominium dues                                                                    4d.       $

Official Form 106J                                                  Schedule J: Your Expenses                                                          page 1
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                                                                  Page 46 of 58

 Debtor 1        Georgette Elizabeth Correa                                             Case number tirknowo
                 First Name   Middle Name       Last Name




                                                                                                                       Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                 5.

 6. Utilities:
     6a. Electricity, heat, natural gas                                                                        6a.     $               300.00
     6b. Water, sewer, garbage collection                                                                      6b.     $                85.00
     6c. Telephone, cell phone, Internet, satellite, and cable services                                        6c.     $               140.00
     6d. Other. Specify:                                                                                       6d.     $

 7. Food and housekeeping supplies                                                                             7.                  1,000.00
 8. Childcare and children's education costs                                                                   8.                        0.00
 9. Clothing, laundry, and dry cleaning                                                                        9.                      100.00
10. Personal care products and services                                                                        10.     $                40.00
11. Medical and dental expenses                                                                                it      $                 0.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                       600.00
    Do not include car payments.                                                                               12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                         13.     $               210.00
14. Charitable contributions and religious donations                                                           14.     $                30.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a. Life insurance                                                                                       15a.                     31.00
     15b. Health insurance                                                                                     15b.                      0.00
     15c.Vehicle insurance                                                                                     15c.                     76.00
     15d. Other insurance. Specify:                                                                            15d.                      0.00

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
     Specify:                                                                                                  16.                       0.00

17. Installment or lease payments:
     17a. Car payments for Vehicle 1                                                                           17a.                    526.00
     17b. Car payments for Vehicle 2                                                                           17b.                      0.00
     17c. Other. Specify:                                                                                      17c.                      0.00
     17d. Other. Specify:                                                                                      17d.                      0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                           18.    $                 0.00
19. Other payments you make to support others who do not live with you.
    Specify:                                                                                                    19. $                    0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

     20a. Mortgages on other property                                                                          20a.                      0.00
     20b. Real estate taxes                                                                                    20b.                      0.00
     20c. Property, homeowner's, or renter's insurance                                                         20c.                      0.00
     20d. Maintenance, repair, and upkeep expenses                                                             20c1.                     0.00
     20e. Homeowner's association or condominium dues                                                          20e.                      0.00


Official Form 106J                                          Schedule J: Your Expenses                                                    page 2
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Debtor 1      Georgette Elizabeth Correa                                                   Case number (ekm.)
               Fiat Name    Middle Name        Last Name




21. Other. Specify:                                                                                             21.   +$         0.00

22. Calculate your monthly expenses.

    22a. Add lines 4 through 21.                                                                            22a.             4,238.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                    22b.                 0.00
    22c.Add line 22a and 22b. The result is your monthly expenses.                                          22c.             4,238.00


23. Calculate your monthly net income.
                                                                                                                             3,500.00
   23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.
                                                                                                                            24_
                                                                                                                              172 347
   23b.    Copy your monthly expenses from line 22c above.                                                  23b.      —$       96,

   23c. Subtract your monthly expenses from your monthly income.
                                                                                                                              -738.00
        The result is your monthly net income.                                                              23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

   El No.
       Yes.      Explain here:




Official Form 106J                                         Schedule J: Your Expenses                                             page 3
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Fill in this information to identify your case:

Debtor 1          Georgette Elizabeth Correa
                   First Name               Middle Name                  Last Name

Debtor 2
(Spouse, if filing) First Name              Middle Name                   Last Name


United States Bankruptcy Court for the:                   District of
Case number                                                                                                                                  U Check if this is an
 (If known)                                                                                                                                      amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                   What do you intend to do with the property that   Did you claim the property
                                                                                       secures a debt?                                   as exempt on Schedule C?

          Creditor's                                                                  U Surrender the property.                          D No
          name:      Wells Fargo Auto
                                                                                      CI Retain the property and redeem it.              0 Yes
         Description of 2017 Honda Accord
         property                                                                     LI Retain the property and enter into a
         securing debt:                                                                  Reaffirmation Agreement.
                                                                                      El Retain the property and [explain]:
                                                                                                               ,
                                                                                         (AfT
                                                                                          •   i AJw

          Creditor's                                                                  0 Surrender the property.                          0 No
          name:
                                                                                      0 Retain the property and redeem it.               0 Yes
          Description of
          property                                                                    0 Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                      0 Retain the property and [explain]:

          Creditor's                                                                  0 Surrender the property.                          0 No
          name:
                                                                                         Retain the property and redeem it.              0 Yes
         Description of
         property                                                                     0 Retain the property and enter into a
         securing debt:                                                                 Reaffirmation Agreement.
                                                                                      0 Retain the property and [explain]:

         Creditor's                                                                   O Surrender the property.                          0 No
         name:
                                                                                         Retain the property and redeem it.              0 Yes
         Description of
         property                                                                     0 Retain the property and enter into a
         securing debt:                                                                  Reaffirmation Agreement.
                                                                                      0 Retain the property and [explain]:


  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                      page 1
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 Debtor 1         Georgette Elizabeth Correa                                                     Case number (Ifknown)
                  First Name          Middle Name     Last Name




   Part 2:        List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                 Will the lease be assumed?

       Lessor's name:                                                                                                    LI NO
                                                                                                                         U   Yes
       Description of leased
       property:


       Lessor's name:                                                                                                    U No
                                                                                                                         U Yes
       Description of leased
       property:


       Lessor's name:                                                                                                    U No
       Description of leased                                                                                             U Yes
       property:


       Lessor's name:                                                                                                    0 No
                                                                                                                         U Yes
       Description of leased
       property:


       Lessor's name:                                                                                                    U No
                                                                                                                         U Yes
       Description of leased
       property:


       Lessor's name:                                                                                                    U No
                                                                                                                         U Yes
       Description of leased
       property:


       Lessor's name:                                                                                                    U No
                                                                                                                         U Yes
       Description of leased
       property:




   Part 3:        Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personalproperty that is subject to an unexpired lease.




       Signature o                                                     Signature of Debtor 2

       Date                                                            Date
              M      DD        YYYY                                           MM/ PD !   YYYY




Official Form 108                                   Statement of Intention for Individuals Filing Under Chapter 7                        page 2
                     Case 23-51663-lrc               Doc 1            Filed 02/21/23 Entered 02/21/23 10:53:54                         Desc P
                                                                           Page 50 of 58


  Fill in this information to identify your case:

  Debtor 1             Georgette Elizabeth Correa
                        First Name             Middle Name                 Last Name

  Debtor 2
     (Spouse. If filing) First Name            Middle Name                 Last Name


     United States Bankruptcy Court for the:                 District of

     Case number                                                                                                                       Li Check if this is an
                         (If known)
                                                                                                                                            amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


 Part 1:           Summarize Your Assets


                                                                                                                                    Your assets
                                                                                                                                    Value of what you own
 1. Schedule NB: Property (Official Form 106A/B)
    1a.Copy line 55, Total real estate, from Schedule A/B                                                                                              0.00


        1b.Copy line 62, Total personal property, from Schedule A/B                                                                              9,955.28

        1c.Copy line 63, Total of all property on Schedule A/B
                                                                                                                                                 9,955.28


I=                 Summarize Your Liabilities



                                                                                                                                    Your liabilities
                                                                                                                                    Amount you owe
 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D
                                                                                                                                                 7,836.99

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                        $      14,177.69
    3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

        3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 61 of Schedule E/F
                                                                                                                                    +$         17,716.00


                                                                                                           Your total liabilities              39,730.38



rall               Summarize Your Income and Expenses


 4. Schedule I: Your Income (Official Form 1061)
    Copy your combined monthly income from line 12 of Schedule I
                                                                                                                                                 3,500.00

 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J                                                                                       4,238.00




 Official Form 106Sum                          Summary of Your Assets and Liabilities and Certain Statistical Information                    page 1 of 2
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   Debtor 1     Georgette Elizabeth Correa                                                       Case number (itkno.n)
                 First Name    Middle Name         Last Name




   Part 4:      Answer These Questions for Administrative and Statistical Records


   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

       U No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       El Yes


   7. What kind of debt do you have?

      El Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
          family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

      LI Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                      3,500.00




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                          Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a.Domestic support obligations (Copy line 6a.)                                                                        0.00


       9b.Taxes and certain other debts you owe the government. (Copy line 6b.)                                               0.00


       9c.Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                     0.00


       9d.Student loans. (Copy line 6f.)                                                                  $


       9e.Obligations arising out of a separation agreement or divorce that you did not report as                             0.00
          priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +$                     0.00


       9g. Total. Add lines 9a through 9f.                                                               s        r7/6, 00




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information                                            page 2 of 2
                    Case 23-51663-lrc                      Doc 1             Filed 02/21/23 Entered 02/21/23 10:53:54                                        Desc P
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Fill in this information to identify your case:




Debtor 2
(Spouse, if filing) First Name                   Middle Name                  Last Name


United States Bankruptcy Court for the:                        District of
Case number
(If known)
                                                                                                                                                             U Check if this is an
                                                                                                                                                               amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                      12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       z
       Did     ifu pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?
             No
        LI   Yes. Name of person                                                                         Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                         Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they a true and correct.




         Signature of '-btor 1                                                   Signature of Debtor 2


         Date                               )'                                    Date
                 MM/     DO      I   YYYY                                                 MM / _DD /   YYYY




  Official Form 106Dec                                                Declaration About an Individual Debtor's Schedules
                Case 23-51663-lrc                  Doc 1             Filed 02/21/23 Entered 02/21/23 10:53:54                               Desc P
                                                                          Page 53 of 58
 Fill in this information to identify your case:                                                          Check one box only as directed in this form and in
                                                                                                          Form 122A-1Supp:
 Debtor 1         Georgette Elizabeth Correa
                    Fast Name                 Middle Name                 Last Name
                                                                                                          U 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) Filet Name               Middle Name                 Last Name                       U 2. The calculation to determine if a presumption of
                                                                                                               abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the:                    District of                                        Means Test Calculation (Official Form 122A-2).
 Case number                                                                                              U 3. The Means Test does not apply now because of
 (If known)
                                                                                                               qualified military service but it could apply later.


                                                                                                          Zi Check if this is an amended filing



Official Form 122A-1
Chapter 7 Statement of Your Current Monthly income                                                                                                                12/19

Be as complete and accurate as possible. If two married people are tiling together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

                   Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
         El Not married. Fill out Column A, lines 2-11.
         U Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

         U Married and your spouse is NOT filing with you. You and your spouse are:

              U      Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              U      Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                     under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                     spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
         Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
         bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
         August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
         Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
         Income from that property In one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A             Column B
                                                                                                            Debtor 1             Debtor 2 or
                                                                                                                                 non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
         (before all payroll deductions).
                                                                                                                   6-oo
   3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.
   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.
   5. Net income from operating a business, profession,
                                                                          Debtor 1      Debtor 2
      or farm
         Gross receipts (before all deductions)                             $       0
         Ordinary and necessary operating expenses                        —$ 0  _       —$
         Net monthly income from a business, profession, or farm                                   Copy
                                                                            $                      here4     $
   6. Net income from rental and other real property                      Debtor 1      Debtor 2
         Gross receipts (before all deductions)                            $
         Ordinary and necessary operating expenses                                      —$
         Net monthly income from rental or other real property
                                                                                                   ttr")
   7. Interest, dividends, and royalties                                                                     $
     A




Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                      page 1
                  Case 23-51663-lrc                 Doc 1         Filed 02/21/23 Entered 02/21/23 10:53:54                                   Desc P
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Debtor 1          Georgette Elizabeth Correa                                                        Case number (if known)
                  First Name       Middle Name        Last Name



                                                                                                        Column A                 Column 8
                                                                                                        Debtor 1                 Debtor 20r
                                                                                                                                 non-filing spouse
   8. Unemployment compensation
      Do not enter the amount if you contend that the amount received was a benefit
                                                                                                          s—P(—
      under the Social Security Act. Instead, list it here:
            For you
            For your spouse
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Govemment in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled If
      retired under any provision of title 10 other than chapter 61 of that title.
   10.Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments received
      as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below.




           Total amounts from separate pages, if any.

   11.Calculate your total current monthly income. Add lines 2 through 10 for each
      column. Then add the total for Column A to the total for Column B.                                                                               s   g,coo
                                                                                                                                                      Total current
                                                                                                                                                      monthly income

   Part 2:         Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                              Copy line 11 here+
                                                                                                                                                     -$4-51
                  Multiply by 12 (the number of months in a year).                                                                                    x 12
       12b. The result is your annual income for this part of the form.                                                                     12b.   r —iW i-----
                                                                                                                                                          - Kr7V

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                    CA
       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                               13.
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14. How do th lines compare?
                   ,
              ,
      14a.             Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                       Go to Part 3. Do NOT fill out or file Official Form 122A-2



      14b. U           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                       Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                   page 2
           Case 23-51663-lrc                   Doc 1         Filed 02/21/23 Entered 02/21/23 10:53:54                                 Desc P
                                                                  Page 55 of 58


Debtor 1     Georgette Elizabeth Correa                                                         Case number   it known)
             First Name      Middle Name         Last Name



               Sign Below

             By signij3g here, I declare un     r penalty of perjury that the information on this statement and in any attachments is true and correct.



                   Signatur wof De                                                             Signature of Debtor 2

                  Date020-2.t_g                                                                Date
                          MM/DO      / YYYY                                                           MM DD /YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                  page 3
                  Case 23-51663-lrc                 Doc 1             Filed 02/21/23 Entered 02/21/23 10:53:54                       Desc P
                                                                           Page 56 of 58
   Fill in this information to identify your case:

  Debtor 1         Georgette Elizabeth Correa
                     First Name                Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing) First Name               Middle Name                 Last Name


  United States Bankruptcy Court for the:                    District of

  Case number
   (If known)

                                                                                                            Check if this is an amended filing



Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                         12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).


Part 1:         Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
   perso al, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
   lndiv duals Filing for Bankruptcy (Official Form 101).

   Uj'io.        Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                 submit this supplement with the signed Form 122A-1.
        Yes. Go to Part 2.


                  etermine Whether Military Service Provisions Apply to You


2. Ar you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?

        No. Go to line 3.
   0 Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

                 0 No. Go to line 3.
                 0 Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1. There is no presumption of abuse, and sign Part 3.
                            Then submit this supplement with the signed Form 122A-1.

3. Ar you or have you been a Reservist or member of the National Guard?
        No. Complete Form 122A-1. Do not submit this supplement.
   0 Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
        O No. Complete Form 122A-1. Do not submit this supplement.
        O Yes. Check any one of the following categories that applies:

                O I was called to active duty after September 11, 2001, for at least           If you checked one of the categories to the left, go to
                  90 days and remain on active duty.                                           Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                               check box 3, The Means Test does not apply now, and
                O I was called to active duty after September 11,2001, for at least
                                                                                               sign Part 3. Then submit this supplement with the signed
                  90 days and was released from active duty on
                                                                                               Form 122A-1. You are not required to fill out the rest of
                  which is fewer than 540 days before I file this bankruptcy case.
                                                                                               Official Form 122A-1 during the exclusion period. The
                O I am performing a homeland defense activity for at least 90 days.            exclusion period means the time you are on active duty
                                                                                               or are performing a homeland defense activity, and for
                U I performed a homeland defense activity for at least 90 days,                540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                  ending on                      , which is fewer than 540 days
                                                                                               If your exclusion period ends before your case is closed,
                  before I file this bankruptcy case.
                                                                                               you may have to file an amended form later.


Official Form 122A-1Supp                    Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
              Case 23-51663-lrc           Doc 1      Filed 02/21/23 Entered 02/21/23 10:53:54                  Desc P
                                                          Page 57 of 58




                                              LIST OF CREDITORS
                                                                  Guidelines:
The debtor must provide and maintain a complete List of           • Creditor name and mailing address ONLY
Creditors reflecting names and addresses only of all              • Enter one creditor per box
                                                                  • Creditor's name must be on the first line
creditors. This list is used to mail notices to creditors. Lack
                                                                  • City, state and zip code must be on the last line
of proper notice may result in no discharge of a debt
                                                                  • No more than five lines of information per creditor
owed.                                                             • Do NOT include: account numbers, phone numbers or
                                                                   amounts owed.



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               Case 23-51663-lrc             Doc 1        Filed 02/21/23 Entered 02/21/23 10:53:54                               Desc P
                                                               Page 58 of 58
Case Number: 23-51663                           Name:           Correa                    Chapter: 7 Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/bankruptcy/filing-without-attorney.

[E] Individual - Series 100 Forms                                                        III Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 O Complete List of Creditors (names and addresses of all creditors)                     O Last 4 digits of SSN
 O Pro Se Affidavit (signature must be notarized,                                        0 Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                    O Statistical Estimates
 O Signed Statement of SSN                                                               O Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
O Statement of Financial Affairs                                                                            Case filed via:
                                                                                   Z Intake Counter by:
O Schedules: A/BCDE/FGHIJO J-2 (separate household of Debtor 2)
                                                                                      O Attorney
O Summary of Assets and Liabilities
O Declaration About Debtor(s) Schedules                                                Z Debtor 678-571-7712
                                                                                       O Other:
0 Attorney Disclosure of Compensation
O Petition Preparer's Notice, Declaration and Signature (Form 119)                 0 Mailed by:
O Disclosure of Compensation of Petition Preparer (Form 2800)                         O Attorney
O Chapter 13 Current Monthly Income                                                   O Debtor
O Chapter 7 Current Monthly Income                                                    O Other:
O Chapter 11 Current Monthly Income
O Certificate of Credit Counseling (Individuals only)                              0 Email [Pursuant to General Order 45-2021, this petition
O Pay Advices (Individuals only) (2 Months)                                        was received for filing via email]
O Chapter 13 Plan, complete with signatures (local form)
O Corporate Resolution (Non-Individual Ch. 7 & 11)                                               History of Case Association
                                                                                   Prior cases wit 'n 2 years:
MISSING DOCUMENTS DUE WITHIN 30 DAYS
O Statement of Intent — Ch.7 (Individuals only)
                                                                                   Signature:
Ch.11 Business                                                                     Acknowl gment           re ipt of Deficiency Notice
O 20 Largest Unsecured Creditors
O List of Equity Security Holders
O Small Business - Balance Sheet                                                    Intake Clerk:     r.smith        ID Verified Z Date:2/21/23
O Small Business - Statement of Operations
O Small Business - Cash Flow Statement
O Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      O Paid $
       •   Pending Pay.Gov, Paid $
       [E] IFP filed (Ch.7 Individuals Only)
       •  2g-Order Granting       El 3g-Order Granting 10-day (initial payment of $                       due within 10 days)
       CI 2d-Order Denying with filing fee of $           due within 10 days
       CI No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                               You may mail documents and filing fee Dayments (no personal checks or cash accepted) to the address below.
                          All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                    UNITED STATES BANKRUPTCY COURT
                                                        75 Ted Turner Drive, SW, Room 1340
                                                               Atlanta, Georgia 30303
                                                                   404-215-1000
